279 F.2d 688
    NATIONAL LABOR RELATIONS BOARD, Petitionerv.TRI-STATE TIMBER COMPANY, Inc.
    No. 16489.
    United States Court of Appeals Eighth Circuit.
    May 23, 1960.
    
      On petition for enforcement of order of the National Labor Relations Board.
      Marcel Mallet-Prevost, Asst. Gen. Counsel, and Dominick Manoli, Assoc. Gen. Counsel, N. L. R. B., Washington, D. C., for petitioner.
      PER CURIAM.
    
    
      1
      Order of Labor Board enforced; on petition for enforcement and stipulation filed with board.
    
    